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              EXHIBIT1
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                   AMERICANARBITRATIONASSOCIATION
            DEMANDFORARBITRATIONCONSUMERARBITRATIONRULES

1.Whichpartyissendinginthefilingdocuments?
Consumer☑ Business☐
2.Brieflyexplainthedispute:
Thisdisputearisesfrom ValveCorporation’s(“Valve”)anticompetitiveconductwherebycurrentandformer
subscriberstoValve’son-linegamingplatform,Steam,includingClaimant,paidsupracompetitivepricesfor
theon-linevideogamesanddownloadablecontent(“DCL)theypurchasedtouseonValve’son-linegaming
platform,Steam.Valve’santicompetitiveconductincludes,interalia,Valve’suseofaPlatform MostFavored
Nations(“PMFN)provisioninitsagreementswithgamedevelopersandpublisherswhich,duetoValve’s
marketpower,stifledandharmedcompetitionintheon-linePCgamedistributionmarket.ThePMFN
preventedgamedevelopersandpublishersfrom sellingtheirgamesonotheron-linegamingsiteswithlower
costsand/orsalescommissionsforlowerpricesthantheysoldtheirgamesontheSteam platform.Valvewas
thereforeabletochargeandmaintainitssupracompetitive30% commissiononeachSteam enabledgame
sold,forcinggamepublisherstochargeconsumers,includingClaimant,morefortheirSteam enabledgames
andDLCthantheyotherwisewouldhaveinacompetitivemarket.
ClaimantcontendsthatValveisliabletoClaimantforIllegalMonopolyMaintenanceinViolationof15U.S.C.§
2,IllegalAttemptedMonopolizationinViolationof15U.S.C.§2,AnticompetitiveCourseofConductin
Violationof15U.S.C.§1andviolationorrelatedstatelaws.
Claimantseeksdamages,including,butarenotlimitedto,therecoveryofoverchargeswhicharesubjectto
trebling,prejudgmentinterest,costsandattorneyfees.See15U.S.C.§15(a).
3.Specifytheamountofmoneyindispute,ifany:$13.65
4.Stateanyotherreliefyouareseeking:
      AttorneyFees
      Interest
      ArbitrationCosts
      Other:Trebleddamages,PrejudgmentInterest,CostsandAttorneys'Fees.
5.Identifytherequestedcityandstateforthehearingifanin-personhearingisheld:
City:SanDiego State:CA
6.PleaseprovidecontactinformationforboththeConsumerandtheBusiness.Attachadditionalsheetsor
formsasneeded.

Consumer:
Name:RyanJosephLally
Address:3785MountAinsworthAve,
City:SanDiego
State:CA
ZipCode:92111
Telephone:+16194946354
Email:ryanlallysd@gmail.com
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Consumer'sRepresentative(ifknown):
Name:GaryE.Mason
Firm:MasonLLP
Address:5335WisconsinAvenue,N.W.,Suite640
City:Washington
State:DC
ZipCode:20015-2052
Telephone:(202)429-2290
Fax:202-429-2294
Email:gmason@masonllp.com
Name:KennethJ.Rubin
Firm:Vorys,Sater,SeymourandPeaseLLP.
Address:52EastGayStreet
City:Columbus
State:OH
ZipCode:43215
Telephone:(614)-464-5692
Fax:
Email:kjrubin@vorys.com
Business:
Name:ValveCorporation
Address:ValveCorporation,P.O.Box1688
City:Bellevue,
State:WA
ZipCode:98004
Telephone:
Fax:
Email:
Business'Representative(ifknown):
Name:CharlesCasper
Firm:MontgomeryMcCracken
Address:1735MarketStreet
City:Philadelphia
State:PA
ZipCode:19103
Telephone:215-772-1500
Fax:215-772-7620
Email:ccasper@mmwr.com
Date:10/30/2023
7.Send acopyofthiscompleted form totheAAA togetherwith:
     Aclear,legiblecopyofthecontractcontainingtheparties’agreementtoarbitratedisputes;
     Theproperfilingfee(filingfeeinformationcanbefoundintheCostsofArbitrationsectionofthe
     ConsumerArbitrationRules);and
     Acopyofthecourtorder,ifarbitrationiscourt-ordered.
8.Send acopyofthecompleted form and anyattachmentstoallpartiesand retainacopyofthe
form foryourrecords.
Tofilebymail,sendtheinitialfilingdocumentsandthefilingfeeto:AAACaseFilingServices,1101Laurel
OakRoad,Suite100,Voorhees,NJ08043.
Tofileonline,visitwww.adr.organdclickonFileorAccessYourCase andfollow directions.Toavoidthe
creationofduplicatefilings,theAAArequeststhatthefilingdocumentsandpaymentbesubmittedtogether.
Whenfilingelectronically,nohardcopiesarerequired.
PursuanttoSection1284.3oftheCaliforniaCodeofCivilProcedure,consumerswithagrossmonthlyincome
oflessthan300% ofthefederalpovertyguidelinesareentitledtoawaiverofarbitrationfeesandcosts,
exclusiveofarbitratorfees.Thislaw appliestoallconsumeragreementssubjecttotheCaliforniaArbitration
Act,andtoallconsumerarbitrationsconductedinCalifornia.Ifyoubelievethatyoumeetthese
requirements,youmustsubmitacompletedAffidavitforWaiverofFees,availableonourwebsite.
PursuanttoNew JerseyStatues$2A:23B-Ietseq.consumerswithagrossmonthlyincomeoflessthan300%
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ofthefederalpovertyguidelinesareentitledtoawaiverofarbitrationfeesandcosts,exclusiveofarbitrator
fees.Thislaw appliestoallconsumeragreementssubjecttotheNew JerseyArbitrationAct,andtoall
consumerarbitrationsconductedinNew Jersey.Ifyoubelievethatyoumeettheserequirements,youmust
submitacompletedAffidavitforWaiverofFees,availableonourwebsite.
AmericanArbitrationAssociation,CaseFilingServices,1101LaurelOakRoad,Suite100,Voorhees,NJ08043
https://www.adr.org|AAACustomerService1-800-778-7879
